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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

              v.                                    Case No. 21-CR-118-RCL-1

ERIC MUNCHEL,


                      Defendant.

                                            ORDER

       Pursuant to the motion filed by the United States, ECF 285, it is hereby ordered that the

Motion to Dismiss the Indictment pursuant to Rule 48(a) with prejudice is GRANTED.



      SO ORDERED this -"'2:-Wday of




                                            HONORABLE ROYCE C. LAMBERTH
                                            United States District Court Judge
